  8:09-cr-00079-JFB-TDT        Doc # 7      Filed: 03/03/09   Page 1 of 1 - Page ID # 32




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )                CASE NO. 8:09MJ51
                                             )
                               Plaintiff,    )
                                             )
       -vs-                                  )                       ORDER
                                             )
EDUARDO TORRES-SAMANIEGO,                    )
                                             )
                            Defendant.       )


       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Andrew M. Ferguson, as a Criminal Justice Act Training Panel

Member, to assist in the defense of EDUARDO TORRES-SAMANIEGO.

       Accordingly, pursuant to the terms of Appendix I, Part I(C) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Andrew M. Ferguson is hereby assigned to

assist the Federal Public Defender in the representation of the Defendant in the above-

captioned case, and must file an entry of appearance forthwith. Andrew M. Ferguson shall

not be eligible to receive compensation for services in this case.

       The Federal Public Defender shall continue to be primary counsel on behalf of the

Defendant, EDUARDO TORRES-SAMANIEGO.

       Dated: March 3, 2009.



                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            UNITED STATES MAGISTRATE JUDGE
